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         Counsel for Plaintiffs
   15
                              UNITED STATES DISTRICT COURT
   16
                            CENTRAL DISTRICT OF CALIFORNIA
   17
        MICHELLE ALBAHAE, et al,                      )   CASE NO. 2:23-cv-00982-RGK-PLA
   18                                                 )
                                                      )
   19               Plaintiffs,                       )   Hon. R. Gary Klausner
                                                      )
   20                                                 )
             v.                                       )   PLAINTIFFS’ MOTION FOR
   21                                                 )   LEAVE TO FILE SUR-REPLY IN
                                                      )   OPPOSITION TO OLAPLEX
   22 OLAPLEX HOLDINGS, INC. AND                      )   HOLDINGS, INC’S MOTION TO
        COSWAY CO., INC.,                             )   DISMISS
   23                                                 )
                    Defendants.                       )   Hearing Date: June 12, 2023
   24                                                 )   Hearing Time: 9:00 a.m.
                                                      )
   25                                                 )   Hearing Ctrm: 850; 8th Floor
                                                      )   Discovery Cut-Off: N/A
   26                                                 )   Scheduling Conference: May 22, 2023
                                                      )
   27                                                 )   Trial: N/A
                                                          Action Filed: February 9, 2023
   28
                                                  1
           PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY IN OPPOSITION TO OLAPLEX HOLDINGS,
                                       INC.’S MOTION TO DISMISS
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    2
              Plaintiffs Michelle Albahae, Chelsea Aranjo, Megan Arcadi, Jessica Auriana,
    3
        Juliette Ball, Chelsea Balmer, Rebecca Barnhouse, Tiffany Berry, Donna Bowen,
    4
        Ashley Branning, Emma Broderick, Joanne Brown, Heather Burkett-Murphy, Holly
    5
        Burkhart, Hilary Cecile, Mackenzie Cogle, Ashley Courtney, Angelina da Gama,
    6
        Sarah Dahan, Hope Daley-Derry, Robin Daniels, Roxanna De la Cruz, Katherine
    7
        Donnelly, Brianda Earle, Monica Easily, Jacob Eisen, Michelle Estrada, Sandra
    8
        Ferguson, Amanda Fontenot, Denisha Freeman, Heather Garon, Jennifer Georgeson,
    9
        Alana Green, Nicole Hoff, Monica Hollifield individually and on behalf of S. H.,
   10
        Lauren Hudson, Tiffany Huval, Aleha Ingle, Heather Jackson, Khila James, Kat
   11
        Johnston, Jessica Jones individually and on behalf of P. J., Eunice Kahler, Tanya
   12
        Karakasheva, Kathleen Keehner, Liza Krengel, Anna Kurilova, Julia Leon, Kristie
   13
        Letizia, Tina Lewis, Laura Llewellyn, Stacey Lobdell, Llasmin Lozoya, Lyana
   14
        Luciano, Kim Marietta, Theresa McCormack , Leslie McDonald, Lisa Mendez, Jill
   15
        Mooshagian, Jennifer Morgan, Amanda Murphy, Jessica Nguyen, Leslie Orr,
   16
        Heather Passmore, Sylva Pate, Sara Petty, Danielle Phelps, Erica Pilicy-Ryan, Robin
   17
        Poston, Nicole Quenga, Melinda Quinn, Charity Reddish, Natalie Register, Jean
   18
        Riccio, Sarah Richardson, Heather Rife, Alexa Roemer, Felicia Sanchez, Amy Shay,
   19
        Farzana Siddiquei, Danielle Sigmon, Rhiannon Singer, Jodi Sobiech, Maria
   20
        Sokolova, Debra Sterlacci, Miecha Isys Thomas, Vanessa Tocco, Noel Talerico,
   21
        Marina Tolic, Leslie Tolstoy, Alexandra Urresti, Rebekah Valentine, Tanya Vallejo,
   22
        Jerrika Vega, Christina Ventor, Robin Vogt, Terri Witts, Robin Yeager and Maureen
   23
        Zavatone (collectively, “Plaintiffs”) file this Motion for Leave to file a short, five
   24
        page Sur-Reply in Opposition to the Rule 12(b)(6) Motion to Dismiss (the
   25
        “Motion”) filed by Olaplex Holdings, Inc. (“Olaplex”) and respectfully state as
   26
        follows:
   27
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                                                  2
          PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY IN OPPOSITION TO OLAPLEX HOLDINGS,
                                      INC.’S MOTION TO DISMISS
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    1
              In a Reply in Support of its Motion to Dismiss, Olaplex represented to the
    2
        Court that Plaintiffs have conceded and, therefore, waived certain issues raised in
    3
        the Motion to Dismiss. ECF 22. Plaintiffs, in fact, hotly dispute these issues and
    4
        addressed them in its Response to the Motion to Dismiss. Plaintiffs seek leave to file
    5
        the five-page Sur-Reply attached as Exhibit A for the sole purpose of addressing
    6
        Olaplex’s waiver argument and to address any misimpression so the record is clear.
    7
              Plaintiffs have not previously had the opportunity to brief the waiver
    8
        argument nor did Plaintiffs have reason to anticipate such an argument based solely
    9
        on the Motion to Dismiss.
   10
              Plaintiffs believe this briefing will be of assistance to the Court. Moreover,
   11
        because of its brevity and promptness, the Sur-Reply should not delay the Court’s
   12
        consideration of the Motion to Dismiss.
   13
                                  CONCLUSION AND PRAYER
   14
              For these reasons, Plaintiffs respectfully request the Court grant them leave to
   15
        file the short, five page Sur-Reply attached as Exhibit A and for such other and
   16
        further relief to which they may be entitled.
   17
        Dated: June 2, 2023
   18
   19                             Respectfully submitted,

   20                             LAW CENTER OF AMY E. DAVIS, LLC
   21
   22
                                  By:      /s/ Amy E. Davis_______
   23
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          PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY IN OPPOSITION TO OLAPLEX HOLDINGS,
                                      INC.’S MOTION TO DISMISS
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   19                                         Attorneys for Plaintiffs
   20
   21
                                 CERTIFICATE OF SERVICE
   22
              I certify that on the 2d day of June 2023, I served the foregoing document on
   23
        all counsel of record via ECF.
   24
   25
                                         By: /s/ Amy E. Davis______________
   26
   27
   28
                                                 4
          PLAINTIFFS’ MOTION FOR LEAVE TO FILE SUR-REPLY IN OPPOSITION TO OLAPLEX HOLDINGS,
                                      INC.’S MOTION TO DISMISS
